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                EXHIBIT 29
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   Reardon, Steve

   From:                          Reardon, Steve
   Sent:                          Friday, April 27, 2007 1:50 PM
   To:                            Parrish, Mark: Dolch, Gary; Grant, Claude; Duffy, Mike; Strizzi . Dave
   Cc:                            Giacalone, Robert: Brantley, Eric; Goodman, Heather: Walsh. Dan; Goldsand , Corey
   Subject:                       Internet Pharmacy/ABC Update


   Yesterday, Eric Brantley and I spoke with Kyle Wright, Chief. E-commerce Operations DEA HQ, regarding internet
   pharmacies and the ABC registration suspension. Kyle has been our point of contact on this iss ue since we implemented
   our internet pharmacy diversion program. The purpose of the call was to confirm that we have the appropriate program
   and processes in place, ask if there is anything else we should be doing, reiterate our willingness to work with the Agency
   on this issue and to extend an offer to meet with the Agency to further discuss the details of our program .

   Key feedback from Kyle included:

   •      He thinks we are doing the right things and heading in the right direction.
   •      Stated that Eric, who manages our program centrally in Dublin. has established an excellent working relationship with
          his office.
   •      Identified pain clinics as a growing concern for the Agency and provided guidance o n how to deal with our pharmacy
          customers who have relationships with these clinics and what we should be reporting to the local DEA offices.
   •      Document everything we do.
   •      If there is any suspicion regarding a potential or current customer, walk away.
   •      Lastly, he stated that his office was not the decision maker on the ABC suspension and had little input into the
          decision. It appears that the Miami Field Division, who conducted the targeted internet pharmacy inspection at
          Lakeland last month , was the driver. I asked Kyle if he would put in a good word for us, our program and our
          willingness to cooperate if he speaks with the Miami office. He said he would be talking with them later today (4-26-
          07). Although he did not come right out and say it, I am confident that he would convey that we are making good faith
          efforts to meet DEA's expectations.

  Additionally as a follow up to the Lakeland inspection, we continue to provide information to the DEA's Miami office
  regarding our program and investigations we have conducted. Attached is the latest response which was sent today. We
  took the opportunity to reinforce our ongoing efforts and our cooperation with Kyle Wright's office .

  Please let me know if you have any questions.

  Steve




       FL DEA 0407.pdf



  Stephen J. Reardon
  Vice President
  Quality & Regulatory Affairs
  Supply Chain Services
  Cardinal Health
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  Dublin, Ohio 43017
  Tel    614-757-7101
  Fax    614-652-4264
  Cell   614-668-2044
  steve.reardon@cardinal.com




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